Case 1:04-cv-01126-.]DT-STA Document 51 Filed 08/08/05 Page 1 of 5 A>Page|D 47

  
 
 

lN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DlSTRlCT OF TENNESSE(§
EASTERN DlVlSlON

MICHAEL G. ROBINSON and
FREDRICK J. IVORY,

Plaintiffs,

VS. No. 04-1126-T/An
WlLLlAl\/l F. HARKNESS; JOSEPH E.
LANE; JOHN DOE; PERMANENT
GENERAL ASSURANCE
CORPORATION; JOHN WILLIAMS;
RICHARD A. WILLIAMS, Individually
and on behalf of LANE WlLLlAl\/IS,

A Minor,

\._/\~_/\-,/\_,/\._/\_/\_/\_,/\._/\_/\_/\.,/\../\_/\_./\._/

Defendants.

 

ORDER GRANTING MOTION FOR SUMMARY JUDGMENT

 

Plaintiffs Michael G. Robinson and Fredrick J. Ivory filed a complaint for personal
injuries in the Circuit Court ofMadison County, Tennessee, against defendants William F.
Harkness and Joseph E. Lane.l The action arises out of an automobile accident that occurred
on April 19, 2003. Defendant Harkness removed the action to this Court on June 3, 2004
pursuant to 28 U.S.C. § 1404 et seq., on the basis of diversity of citizenship 28 U.S.C.

§ 1332. Harkness filed an answer to the complaint on June 15, 2004. In the answer,

 

l On July 14, 2005, the Court issued an order dismissing defendant .loseph E. Lane, pursuant to Fed. R.
Civ. P. 4(m), for failure to obtain service of process

This document entered on the docket sheet in compliance

with Ftule 55 and/or 32(b) FHCrP on (}5"@ ~QS @

Case 1:04-cv-01126-.]DT-STA Document 51 Filed 08/08/05 Page 2 of 5 Page|D 48

Harkness alleged the comparative fault of John Williams, Richard A. Williams and Lane
Williams.

On September 10, 2004, plaintiffs filed a motion to amend the complaint to add John
Williams, Richard A. Williams and Lane Williams as defendants The motion to amend Was
granted by the Magistrate Judge on January 18, 2005. John Williams, Richard A. Williams
and Lane Williams have moved for summary judgment, asserting that the claims against
them are barred by the applicable one-year statute of limitations, Tenn. Code Ann. § 28~3-
104. Plaintiffs have responded to the motion.

l\/lotions for summary judgment are governed by Fed. R. Civ. P. 56. lf no genuine
issue of material fact exists and the moving party is entitled to judgment as a matter of law,
summary judgment is appropriate Fed. R. Civ. P. 56(c). The moving party may support the
motion for summary judgment with affidavits or other proof or by exposing the lack of
evidence on an issue for which the nonmoving party will bear the burden of proof at trial.
Celotex Corp. v. Catrett, 477 U.S. 317, 324 (1986). The opposing party may not rest upon
the pleadings but must go beyond the pleadings and “by affidavits or as otherwise provided
in this rule, must set forth specific facts showing that there is a genuine issue for trial.” Fed.

R. Civ. P. 56(e); see also Celotex Corp., 477 U.S. at 323.

 

Pursuant to Tenn. Code Ann. § 20-l-l19:

(a) In civil actions where comparative fault is or becomes an issue, if a
defendant named in an original complaint initiating a suit filed Within
the applicable statute of limitations . . . alleges in an answer . . . that a
person not a party to the suit caused or contributed to the injury or

2

Case 1:04-cv-01126-.]DT-STA Document 51 Filed 08/08/05 Page 3 of 5 Page|D 49

damage for which the plaintiff seeks recovery, and if the plaintiffs

cause or causes of action against such person would be barred by any
applicable statute of limitations but for the operation of this section, the

plaintiff may, within ninety (90) days of the filing of the first . . .

answer alleging such person’s fault, either:

(l) Amend the complaint to add such person as a defendant
pursuant to Rule 15 of the Tennessee Rules of Civil Procedure
and cause process to be issued for that person; or

(2) Institute a separate action against that person by filing a
summons and complaintl . . .

(b) A cause of action brought within ninety (90) days pursuant to

subsection (a) shall not be barred by any statute of limitations . . .

Plaintiffs contend that they complied with this statute by filing their motion to amend
the complaint on September l(), 2004, which Was within ninety days after Harkness’ answer
was filed on June 15, 2004. Therefore, it is argued that the claims against the Williams
defendants are not barred by the one-year statute of limitations because the amended
complaint relates back to the filing of the original complaint pursuant to Fed. R. Civ. P.
15(¢).

Plaintiffs’ argument has some appeal, particularly Where, as in this case, there was
a substantial delay between the filing of the motion to amend and its granting by the Court.
However, the Tennessee Court oprpeals has made it clear that under § 20-1-1 l9, when an
answer alleges the comparative fault of another person the plaintiff must accomplish two
things within the ninety-day window: amend the complaint to add that person as a defendant
Mi_ cause process to be issued for that person. Ward v. AMI SUB (SFH). Inc., 149 S.W.3d
35, 39 (Tenn. Ct. App.), perm. app. denied (Tenn. Sept. 7, 2004); see also Young v. Tovs

R Us lnc., 987 F. Supp. 1035, 1036 (E.D. Tenn. 1996). Thus, the filing of plaintiffs’

 

3

Case 1:04-cv-01126-.]DT-STA Document 51 Filed 08/08/05 Page 4 of 5 Page|D 50

motion to amend, in and of itself, did not toll the ninety-day period in this case.2

For these reasons, the Court finds that defendants John Williams, Richard A.
Williams and Lane Williams are entitled to judgment as a matter of law. According]y, the
motion for summary judgment is GRANTED.

lT lS SO ORDERED.

Q?l/M Z>»M

JA S D. TODD
UNI ED STATES DISTRICT JUDGE

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DATE

 

2 The Court notes that although the motion to amend was filed only three days before the expiration of the
ninety-day period, it contained no references to § 20-}-] 19 and there was no communication by counsel of any
urgency.

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 51 in
case 1:04-CV-01126 was distributed by faX, mail, or direct printing on
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R. Dale Thomas

RAINEY KIZER BUTLER REVIERE & BELL
105 S. Highland Avenue

.lacl<son7 TN 38302--114

Katherine B. Steuer

LAW OFFICE OF KATHERINE B. STEUER
80 l\/lonroe Ave.

Ste. 505

l\/lemphis7 TN 38103

T. Verner Smith
112 N. Liberty
.lacl<son7 TN 38302

John S. Little
WALDROP & HALL
106 S. Liberty Street
.lacl<son7 TN 38301--072

Honorable .l ames Todd
US DISTRICT COURT

